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Case No. 23-cv-6369 pag

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

SEANPAUL REYES,
Plaintiff,

THE CITY OF NEW YORK,
Defendant.

ON PLAINTIFE’S MOTION FOR A PRELIMINARY INJUNCTION

Marc Stout’s Amicus Curiae Brief in Support of The City of New York

By:

Marc Joseph Stout Date 15 o/ LORS

Amicus Curiae

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

SEANPAUL REYES,

)
)
Plaintiff, )
)
v. ) Case No, 23-cv-6369
)
THE CITY OF NEW YORK, )
)
Defendant. J
)

I. CORPORATE DISCLOSURE STATEMENT
Stout is an individual and not a corporation.

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I. TABLE OF AUTHORITIES
Stout v. Mischou, U.S, Dist., E.D.V.A., Case No. 1:20-cv-00147, Dkt. 18 (2021)
Commonwealth v. Bradley, 232 A.3d 747, 2020
People v. Stiegler, 2021 Til. App. 200880 IL. App. Ct. 2021)

IV. IDENTITY OF AMICUS CURIAE; INTEREST IN THE CASE;
SOURCE OF AUTHORITY
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The amicus curiae is Mare Joseph Stout, an individual.

Stout has a Youtube channel, Frauditors Exposed, that features unflattering livestreams
and videos about individuals who enter onto government building property to film in purposeful
violation of building policy prohibiting or restricting filming, individuals professing to be
“sovereign citizens/First Amendment auditors.”

Stout shares information with government agencies and employees about the public
forum doctrine and that clearly establishes that government building properties, including police

station properties, are non public forums, that individuals do not have a right to film in non

public forums, and that policies and ordinances prohibiting or restricting filming in non public
forums are reasonable.

Stout has submitted legal memorandums to prosecutors and city councils. Prosecutors
have submitted Stout’s legal memorandums to the courts to convict sovereign citizens/First
Amendment auditors. Sheridan, CO, and Easley, SC city councils adopted Stout's legal
memorandums as a source of authority te enact ordinances declaring government building
properties non-public forums and prohibiting filming therein.

Stout has successfully litigated many pro-se civil-rights cases, filming cases that
produced case-law in Stout’s favor before settling.

Stout, a retired street activist, has an interest in furthering and advancing the right to
record police activity in traditional public forums - streets, sidewalks, plazas, and parks, and an
interest in demonstrating that individuals who enter onto government building property to film in
purposeful violation of building policy prohibiting or restricting filming are nothing more than
common criminals engaging in wiretapping, harassment, stalking, trespassing, and other crimes,

to manufacture content for Youtube videos.
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The outcome of this case determines whether or not NYPD’s police precinct lobbies are
non-public forums, and whether or not individuals have a right to film in non-public forums. If
this court rules that individuals have the right to film in NYPD’s police precinct lobbies,
individuals who already film police activity in traditional public forums will gravitate away from
that risk and towards filming unsuspecting administrative, technical, and clerical workers
because it’s much easier and safer to make government staff employees uncornfortable for
Youtube content than it is to find and film police activity for a cause.

If this court rules that individuals have the right to record in NYPD’s police precinct

lobbies, individuals who decided that filming police activity in traditional public forums was too
risky, or individuals who were previously undecided, will now decide to film government staff
employees in police stations and other government buildings because filming government staff
employees is the path of least resistance and the employees are low-hanging fruit.
Stout’s source of authority to file is Federal Rule of Appellate Procedure’s Rule 29(a)(2).
VL RULE 29(a)(4\(E) STATEMENT
An attorney did not author this amicus curiae brief in whole or in part. Stout, an
individual and non-attorney, authored this amicus curiae brief in whole. Stout did not contribute
money that was intended to fund the preparation or submission of this brief. No other person
_ contributed money that was intended to fund the preparation or submission of this brief.

VIL. ARGUMENT -
NYPD Precinct Lobbies Are Not Designated Public Forums, but Non Public Forums;
Individuals Do Not Have a Right to Film in Non Public Forums

Reyes’ attorney contends that “at the very least, these’ NYPD police precinct “lobbies
are designated public forums—places that have been opened to the public specifically for a

public purpose.” Dkt. 7, p. 14.
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In Stout vy, Mischou, U.S, Dist., E.D.V.A., Case No. 1:20-cy-00147, Dkt. 18 (2021), the
court ruled that “Plaintiffs' characterization of the” police station’s sidewalk “as a ‘public
sidewalk’ that was ‘designated for public access’ constitutes a legal conclusion that need not be
accepted,”

“It is not clear that the” sidewalk “area just outside of the security gate of the police
parking lot at the police station is a ‘place[ ] which by long tradition or by government fiat ha[s]
been devoted to assembly and debate, the rights of the state to limit expressive activity are

sharply circumscribed.’. Perry Educ. Ass'n, 460 U.S. at 45.” Stout v. Mischou, U.S. Dist.,

E.D.VA., Case No. 1:20-cv-00147, Dkt. 18 (2021). See also Commonwealth v. Bradley, 232
A.3d 747, 2020; People v. Stiegler, 2021 Ill. App. 200880 cu. App. Ct. 2021).

If individuals do not have a tight to film from a police station’s outdoor sidewalk, then
they certainly do not have a right to film from the police station’s indoor lobby.

Reyes’ attorney contends that NYPD police precinct lobbies “share little with
government waiting rooms that have been found to be nonpublic forums, ie., interior rooms
designated for appointments.” Dkt. 7, p. 14. The NYPD is a government agency, and NYPD |
precinct lobbies are waiting areas, therefore, NYPD police station lobbies share everything in
common with, and are, non-public forums.

Reyes’ attorney contends that Glik v. Cunniffe, 655 F.3d 78, 82 (1st Cir. 2011), Fields v.
City of Phila., 862 F3d 353, 356 (3d Cir. 2017), Turner v, Driver, 848 F.3d 678, 690 (Sth Cir.
2017) ACLU of Ill. v. Alvarez, 679 F.3d 583, 597 (7th Cir. 2012), Fordyce v. City of Seattle, 55
F.3d 436, 439 (9th Cir. 1995), and Smith -v. City of Cumming, 212 F.3d 1332, 1333 (ith Cir.
2000) establish that “recording the police is protected First Amendment activity. While the

Second Circuit has not yet been presented with this question, other circuits have uniformly held

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that the First Amendment encompasses recording the police, and none thinks the question is
close.” Dkt. 7, p. 12.

The cases cited by Reyes’ attorney establish that individuals have a right to record police
officers and police activity in “public,” not in non public or limited public. There are four
“publics,” traditional public, designated public, limited public, and non public. “Public” is short
for, and interchangeable with, traditional public. Furthermore, the Plaintiffs to all of the cases
cited by Reyes’ attorney were filming from a traditional public forum - a street, sidewalk, plaza,

or park,

The cases cited by Reyes’ attorney do not establish that individuals have the right to film
wherever there are police officers or there is police activity, but that where individuals have the
right to film police officers and police activity - in traditional public forums - police officers may

‘not invoke their governmental status or the nature of the police activity to prohibit individuals
from filming.

Reyes attorney contends that New York State’s and New York City’s Right to Record
Acts state that “‘[a} person not under arrest or in the custody of a law enforcement official has
the right to record law enforcement activity.’” Dkt. 7, p. 19.

However, New York State’s Right to Record Act further states that “nothing in this
subdivision shall be construed to permit a person to engage in actions that physically interfere
with law enforcement activity or otherwise constitute a crime defined in the penal law involving
obstructing governmental administration,” and New York City’s Right to Record Act further
states that “nothing in this chapter shall be construed to permit a person to engage in actions that
physically interfere with an official and lawful police function, ...or to prohibit any officer from

enforcing any other provision of law,” including provisions of trespassing and obstructing laws.

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VII. CERTIFICATE OF COMPLIANCE
Stout certifies that this document complies with Federal Rules of Appellate Procedure

Rule 32(g)(1) and that this document is 1407 words.

Submitted, “

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I hereby certify that on July 30, 2023, I emailed a copy of this document to the Plaintiff’s

attorney at:

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CERTIFICATE OF SERVICE

|

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